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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 AARON SIEGEL;                              )
                                            )
 JASON COOK;                                )
                                            )
 JOSEPH DELUCA;                             )
                                            )
 NICOLE CUOZZO;                             )
                                            )
                                            )   Civil Action No. 1:22-cv-7463-
 TIMOTHY VARGA;
                                            )            KMW-AMD
 CHRISTOPHER STAMOS;                        )
                                            )         CIVIL ACTION
 KIM HENRY; and                             )
                                            )   (ELECTRONICALLY FILED)
 ASSOCIATION OF NEW JERSEY                  )
 RIFLE & PISTOL CLUBS, INC.,                )
                                            )
                      Plaintiffs,           )
                                            )
        v.
                                            )
 MATTHEW PLATKIN, in his official           )
 capacity as Attorney General of New        )
 Jersey,                                    )
                                            )
 PATRICK J. CALLAHAN, in his                )
 official capacity as Superintendent of the )
 New Jersey Division of State Police,       )
                    Defendants.

      DECLARATION OF DANIEL L. SCHMUTTER IN SUPPORT OF
       PLAINTIFFS’ MOTION TO FILE AN OVER LENGTH BRIEF
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       1.     I, Daniel L. Schmutter, am an attorney of the State of New Jersey and

 a member of Hartman & Winnicki, P.C., attorneys of record for Plaintiffs in the

 above-titled action. I have personal knowledge of the facts set forth herein and, if

 called and sworn as a witness, could and would testify competently thereto. I submit

 this certification in support of Plaintiffs’ Motion to file a brief 7 pages over the 40

 page limit of L. Civ. R. 7.2(b)

       2.     This matter is a challenge to a brand new 38 page statute (and also pre-

 existing provisions of law) that effects sweeping changes to New Jersey’s firearms

 laws. The new law is so sweeping in its impacts that the action includes 8 plaintiffs

 challenging more than 30 provisions of law. Moreover, this new statute violates at

 least four different provisions of the United States Constitution.

       3.     All of the foregoing require extensive briefing in order to properly and

 clearly present these issues to the Court on a motion for a temporary restraining order

 and preliminary injunction.

       4.     I and several other experienced attorneys sought to pare the brief down

 to the 40 page limit, but after many hours we were only successful at reducing the

 brief to 47 pages, just 7 pages over the 40 page limit.

       4.     Given the scope and complexity of this lawsuit, Plaintiffs respectfully

 request that the Court grant leave to file a 47 page brief in connection with their

 motion for a temporary restraining order and preliminary injunction.
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       I declare under penalty of perjury that the foregoing is true and correct.

 Executed within the United States.



       s/ Daniel L .Schmutter               December 23, 2022
       Daniel L. Schmutter                       Date
